          Case: 3:20-cv-00216-bbc Document #: 36 Filed: 06/08/21 Page 1 of 1


                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WISCONSIN'
 David C. L. Walton,
                    Petitioner,

           V.                                      Case No. 20-CV-216-bbc


Warden Brian Foster,
                    Respondent.
                                NOTICE OF APPEAL

     NOTICE IS HEREBY GIVEN that David Christopher Lee Walton, the Petitio-

ner in the above captioned matter, hereby appeals to the United States Court

of Appeals for the Seventh Circuit from the final judgment entered in this
action on 5713-21.

Date: 10 -3-al


Signed:
          David Chris op. er 1pe Walton ,r 32181
          P.O. Box 351 WCI                                            0
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